Alan Birnbaum
15830 Far View Place
Anchorage, AK 99516
907-522-2232
alanjbirnbaum@gmail.com
Attorney for Plaintiffs


                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

RUTH DUKOFF AND ALAN BIRNBAUM,         )
                                       )
                 Plaintiffs,           )
                                       )
v.                                     )
                                       )
MUNICIPALITY OF ANCHORAGE,             )
BOARD OF ADJUSTMENT OF THE             )
MUNICIPALITY OF ANCHORAGE, AND )
PLATTING BOARD OF THE                  )
MUNICIPALITY OF ANCHORAGE.             )
                                       )
                 Defendants.           )                 Case No. 3:22-cv-00007-SLG
______________________________________ )

                            STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Alan

Birnbaum and Ruth Dukoff and Defendants Municipality of Anchorage, Board of

Adjustment of the Municipality of Anchorage, and Platting Board of the Municipality of

Anchorage (individually “Party” and collectively “Parties”) stipulate to the dismissal with

prejudice of the above-captioned case. The Parties agree that each Party shall bear all its

own expenses—e.g., attorney’s fees and costs—resulting from or in any way connected

with this case.




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Dated: December 9, 2024                  s/ Alan Birnbaum
                                         Alan Birnbaum, Alaska Bar No. 605007
                                         Attorney for Plaintiffs


Dated: December 9, 2024                  s/ Jason A. Thomas
                                         Jason A. Thomas – AK Bar No. 2005028
                                         Attorney for Defendants




Certificate of Service

       I certify that on December 9, 2024, a true copy of this document was served

through the CM/ECF System.


s/ Alan Birnbaum
Alan Birnbaum, Attorney for Plaintiffs




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